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                               Who is Ava Labs?
                                      Written by Jay Kurahashi-Sofue
                                      Updated over a week ago



                               Ava Labs makes it simple to launch decentralized finance applications on Avalanche,
                               a highly scalable blockchain platform for decentralized applications and enterprise
                               blockchain deployments. We are empowering people to build an open, simple, and
                               democratic internet of finance.


                               Ava Labs was founded by Cornell computer scientists who brought on talent from
                               Wall Street to execute their vision. The company has received funding from
                               Andreessen Horowitz, Initialized Capital, and Polychain Capital, with angel
                               investments from Balaji Srinivasan and Naval Ravikant.




                               For any additional questions, please visit our knowledge base or contact a support
                               team member via the chat button at support.avax.network.


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